10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

ase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 1of7 Page ID #:1635

j102

g4sla

64 :OlKY 61 G34

 

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA, CR No. 14-436 (A) -GHK
Plaintiff, FIRST SUPERSEDING
INFORMATION
Vv.
[18 U.S.C. § 371: Conspiracy to
YAIR SHOSHANT, Commit Bank Fraud; 18 U.S.C.
aka “Ben Yehuda,” §§ 981(a) (1) (C), 982(a), and 28
aka “Ben Cohen, ” U.S.C. § 2461(c): Criminal
Forfeiture]
Defendant.

 

 

The Unites States Attorney charges:
[18 U.S.C. § 374]

Beginning in or before 2004, and continuing through on or about
June 27, 2014, in Los Angeles County, within the Central District of
California, and elsewhere, defendant YAIR SHOSHANI, also known as
(“aka”) “Ben Yehuda,” aka “Ben Cohen” (“defendant”), together with
others known and unknown to the United States Attorney, conspired to
commit bank fraud, in violation of Title 18, United States Code,
Section 1344. The object of the conspiracy was carried out, and to
be carried out, in substance, as follows: Defendant and his co-
conspirators would obtain bank-issued credit cards using false

information and other persons’ identifying information without those

Cw

 

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Ny

 

base 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 2of7 Page ID #:1636

persons’ authorization, use those cards to generate charges for non-
existent purchases at purported businesses which had been created
only for that purpose and in fact provided no goods or services, and
collect on those charges from the banks that had issued the cards.
Federally-insured financial institutions defrauded as a result of
this conspiracy include JPMorgan Chase Bank, Discover, Bank of
America, First Republic Bank, East-West Bank, Citibank, First Bank,
and Wells Fargo Bank. In furtherance of the conspiracy and to
accomplish the object of the conspiracy, on May 19, 2014, defendant
transported from Los Angeles to London a list he handwrote of names

and account numbers used to defraud the banks.

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

ase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 3 of 7 Page ID #:1637

FORFEITURE ALLEGATION
[18 U.S.C. § 981(a) (1) (C), 28 U.S.c. § 2461 (c)
and 18 U.S.C. § 982(a) (2)]

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given to defendant YAIR SHOSHANI, also
known as (“aka”) “Ben Yehuda,” aka “Ben Cohen” (“defendant”), that
the United States will seek forfeiture as part of any sentence in
accordance with Title 18, United States Code, Section 981(a) (1) (Cc),
Title 28, United States Code, Section 2461(c), and Title 18, United
States Code, Section 982(a)(2), in the event of defendant’s
conviction under this Information.

2. Defendant shall forfeit to the United States the following
property:

a. All right, title and interest in any and all property,
real or personal, constituting, or derived from, any proceeds
obtained, directly or indirectly, as a result of any offense set
forth in this Information including, without limitation:

i. Approximately $106,784.12 in funds seized on or
about July 8, 2014, pursuant to a federal seizure warrant
from Chase Bank account numbers 510966356 and 510973899
held in the name of Elevation Development Group LLC, Asset
Number 14-FBI-005868, 3410-14-F-256;

ii. Approximately $42,220.97 in funds seized on or
about July 8, 2014, pursuant to a federal seizure warrant
from HSBC bank account number 167799762 held in the name of
defendant YAIR SHOSHANI, Asset Number 14-FBT-005869, 3410-
14-F-257;

iii. Approximately $142,520.50 in funds in Bank of the

3

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

pase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 4of7 Page ID #:1638

West account number 033122374 held in the name of Evoluto
LLC, Asset Number 14-FBI-006031, 3410-14-F-263;

iv. Approximately $549,100 in cash seized from a
residence in Santa Monica, California, on or about June 27,
2014, Asset Number 14-FBI-005867, 3410-14-F-255;

Vv. $100,000 from First Bank, representing the value
of cashier’s check number 9500159960, payable to
Nottinghill Overseas Limited, purchased by Complexis, Inc.,
and dated December 3, 2013;

vi. The real property with Assessor’s Parcel Number
5528-003-103, commonly known as 750 N. Kings Rd., Number
204, Los Angeles, CA 90069, and with title held by
Elevation Development Group LLC, c/o YAIR SHOSHANI, Asset
Number 14-FBI-007694, 3410-15-I-066;

vii. The real property with Assessor’s Parcel Number
4339-015-051, commonly known as 976 Larrabee St., Number
129, W. Hollywood, CA 90069, and with title held by
Elevation Development Group LLC, c/o YAIR SHOSHANI, Asset
Number 14-FBI-007695, 3410-15-I-067;

viii. The real property with Assessor’s Parcel Number
4282-011-049, commonly known as 1325 9th St., Number 7,

Santa Monica, CA 90401, and with title held by Elevation

Development Group LLC, Asset Number 14-FBI-007696, 3410-15-

I-068;

ix. The real property with Assessor’s Parcel Number
4363-007-102, commonly known as 10982 Roebling Ave., Number
359, Los Angeles, CA 90024, and with title held by
Elevation Development Group LLC, Asset Number 14~FBI-

4

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23.

24

25

26

27

28

 

pase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page5of7 Page ID #:1639

007697, 3410-15-TI-069;

x, The real property with Assessor’s Parcel Number
5548-025-162, commonly known as 7250 Franklin Ave., Number
1106, Los Angeles, CA 90046, and with title held by
Elevation Development Group LLC, Asset Number 14-FBI-
007698, 3410-15-I-070;

xi. Approximately $17,790.74 in funds in Bank of
America account number 2137814050 held in the name of
Complexis, Inc., Asset Number 14-FBI-006032, 3410-14-F-264;

xii. $200,000 from East West Bank, representing the
value of cashier’s check number 865003653, payable to
Nottinghill Overseas Limited, purchased by Pan American
Ventures, LLC, and dated December 3, 2013, Asset Number 14-
PBI-005870, 3410~-14-F-258;

xiii. Approximately $4,080.83 in funds in Citibank
account number 40047281635 held in the name of Tom
Hakopian, Asset Number 14-FBI-005871, 3410-14-F-259 (Ll of
6) ;

xiv. Approximately $5,334.74 in funds in Citibank
account number 40047281650 held in the name of Tom
Hakopian, Asset Number 14-FBI-005871, 3410-14-F-259 (2 of
6);

xv. Approximately $7,977.94 in funds in Citibank
account number 40051751481 held in the name of Roman Yates,
Asset Number 14-FBI-005871, 3410-14-F-259 (3 of 6) ;

xvi. Approximately $8,140.62 in funds in Citibank
account number 40051515241 held in the name of Peter
Esposito, Asset Number 14-FBI-005871, 3410-14-F-259 (4 of

5

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

pase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 6of7 Page ID #:1640

6);

xvii. Approximately $34,164.72 in funds in Citibank
account number 40023878487 held in the name of William
Clark, Asset Number 14-FBI-005871, 3410-14-F-259 (5 of 6);
and

Xviil. Approximately $2,638 in funds in Citibank
account number 42010521633 held in the name of Eli Zehavi,
Asset Number 14-FBI-005871, 3410-14-F-259 (6 of 6).

xix. All the funds in Compagnie Bancaire Helvetique
(CBH) account number 0013194 held in the name of Dasher
Overseas S.A./Yair Shoshani (estimated to be approximately
$3,245,000 net of a loan), and in CBH account number
0021616 held in the name of Nottinghill Overseas
Limited/Rachel Shoshani (estimated to be approximately
$196,000).

(Collectively, the above-described property will be
referred to as the “FORFEITABLE PROPERTY”); and

b. A sum of money equal to the total value of the property

described in subparagraph a above.

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

en

 

 

ase 2:14-cr-00436-DMG Document 150 Filed 02/19/16 Page 7of7 Page ID #:1641

3. Pursuant to Title 21, United States Code, Section 853 (p),
as incorporated by Title 18, United States Code, Section 982(b), and
Title 28, United States Code, Section 2461(c), defendant shall
forfeit substitute property, up to the value of the property
described in the preceding paragraph if, as the result of any act or
omission of defendant, the property described in the preceding
paragraph or any portion thereof (a) cannot be located upon the
exercise of due diligence; (b) has been transferred, sold to, or
deposited with a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in
value; or (e) has been commingled with other property that cannot be

divided without difficulty.

EILEEN M. DECKER
United States Attorney

x

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

GEORGE S. CARDONA
Assistant United States Attorney
Chief, Major Frauds Section

RANEE KATZENSTEIN
Assistant United States Attorney
Deputy Chief, Major Frauds Section

ANDREW BROWN
Assistant United States Attorney
Major Frauds Section

 

 
